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                                       September 13, 2023

VIA ECF

Hon. Vernon S. Broderick, U.S. District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

       Re: Carrillo v. Sabbadini, et al.; Civil Case No. 1:23-cv-05692-VSB

Your Honor:

         Undersigned counsel represents Plaintiff Cristina Carrillo (“Plaintiff”) in the above-
referenced matter. On August 15, 2023, Defendant ZV NY, Inc. (“ZV NY”) filed a “Partial Motion
to Dismiss Plaintiff’s Claims” (ECF No. 18) and a “Memorandum of Law in Support of the Partial
Motion to Dismiss Plaintiff’s Claims” (ECF No. 19) (together, “Motion to Dismiss”). Twenty-one
days later, on September 5, 2023, Plaintiff filed an “Opposition to Defendant ZV NY’s Partial
Motion to Dismiss” (ECF No. 21) (“Opposition”). According to Local Civil Rule 6.1 - Service and
Filing of Motions Papers (“Local Civil Rule(s)”), Plaintiff’s Opposition was due on August 30,
2023, and was therefore, untimely when it was filed. On September 12, 2023, Defendant ZV NY
filed its “Reply Memorandum of Law by Defendant ZV NY, Inc. in Further Support of Partial
Motion to Dismiss” (ECF 22) (“Reply”) in which it moved the court to disregard Plaintiff’s
Opposition for it was inexcusably late.

        A district court has broad discretion to determine whether to overlook a party's failure to
comply with local court rules. See Wight v. Bankamerica Corp., 219 F.3d 79, 85 (2d Cir. 2000);
Somlyo v. J. Lu-Rob Enters., 932 F.2d 1043, 1048 (2d Cir. 1991)(“[T]he district court has the
inherent power to decide when a departure from its Local Rules should be excused or overlooked”).
In considering such a request, a district court may consider additional factors such as the reason
for the delay, the length of the delay and prejudice to the parties.

        Plaintiff’s violation of Local Civil Rule 6.1 was neither intentional nor willful. The
untimely filing was the direct consequence of transferring calendars pursuant to the
implementation of a new legal tasks and project management system in undersigned counsel’s law
firm. To avoid this exact scenario, the transition included two separate human data reviews and
entries were checked across systems. Upon investigation, the deadline to file the Opposition was
correctly calendared in one system in accordance to the Local Civil Rules, but incorrectly
calendared in another and the discrepancy between the two was resolved to the Plaintiff’s
detriment.


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         Finally, Plaintiff would be severely prejudiced if its Opposition is disregarded for violating
Local Civil Rule 6.1 because, even though service of the other named defendants has not been
finalized and discovery has not begun, ZV NY seeks to have several claims from Plaintiff’s
Complaint dismissed. This result would be contrary to the policy of resolving cases on the merits
and the law. For all these reasons, Plaintiff respectfully requests the Court’s forgiveness for the
late filing, failing to acknowledge its untimeliness, and failing to seek leave to file a late response
pursuant to Local Civil Rule 6.1, and asks the Court to exercise its broad discretion in excusing
said violation so that Plaintiff’s Opposition to Defendant ZV NY’s Partial Motion to Dismiss may
be considered on the merits.

        Defendant ZV NY’s counsel, attorney Marc Reiner, has graciously waived any objection
to Plaintiff’s requested relief.



                                                       Respectfully submitted,



                                                       _________/s/______________
                                                       Melissa A. Bright




CC: Counsel of Record, via ECF




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